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                                                                                   APPEAL,CLOSED,LC−2
                                   U.S. District Court
          U.S. District Court for the Northern District of Oklahoma (Tulsa)
              CIVIL DOCKET FOR CASE #: 4:24−cv−00216−JDR−CDL

    Stephens v. Child Support Services of Oklahoma Department of   Date Filed: 05/08/2024
    Human Services et al                                           Date Terminated: 04/24/2025
    Assigned to: Judge John D Russell                              Jury Demand: Plaintiff
    Referred to: Magistrate Judge Christine D Little               Nature of Suit: 480 Consumer Credit
    Cause: 15:1692 Fair Debt Collection Act                        Jurisdiction: Federal Question
    Plaintiff
    Linh Tran Stephens                             represented by Linh Tran Stephens
    an individual                                                 1964 ASHLEY RIVER RD
                                                                  ST B UNIT 80112
                                                                  CHARLESTON, SC 29407
                                                                  (817) 631−3223
                                                                  PRO SE


    V.
    Defendant
    Child Support Services of Oklahoma             represented by John K.F. Langford
    Department of Human Services                                  John Langford
    (CSS of OKDHS)                                                Oklahoma Department of Human Services
                                                                  P.O. Box 25352
                                                                  Oklahoma City, OK 73125−0000
                                                                  405−521−3638
                                                                  Email: john.langford@okdhs.org
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED

    Defendant
    Charles Schwab and Co., Inc.                   represented by Jennifer N. Lamirand
                                                                  Bressler, Amery & Ross, P.C.
                                                                  6608 N. Western Ave.
                                                                  #1213
                                                                  Oklahoma City, OK 73116
                                                                  405−901−5982
                                                                  Email: jlamirand@bressler.com
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED

                                                                   Mary H (Molly) Tolbert
                                                                   Fuller Tubb Bickford Warmington &
                                                                   Panach PLLC
                                                                   201 Robert S. Kerr Avenue
                                                                   Suite 1000
                                                                   Oklahoma City, OK 73102
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                                                                405−604−3005
                                                                Email: molly.tolbert@fullertubb.com
                                                                TERMINATED: 02/03/2025
                                                                LEAD ATTORNEY

                                                                Tara A LaClair
                                                                Bressler, Amery & Ross, P.C.
                                                                6608 N. Western Avenue
                                                                Suite 1213
                                                                Oklahoma City, OK 73116
                                                                405−901−5981
                                                                Email: tlaclair@bressler.com
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

    Defendant
    Cierra Freeman                                represented by Andrew Charles Jayne
    individual capacity, official capacity as                    Baum Glass Jayne Carwile & Peters PLLC
    court− appointed attorney for                                401 S. Boston Avenue
    child−support enforcement                                    Ste 2000
                                                                 Tulsa, OK 74103
                                                                 918−938−7944
                                                                 Fax: 918−938−7966
                                                                 Email: ajayne@bgjclaw.com
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                                Shelby Brunette
                                                                Baum Glass Jayne Carwile
                                                                401 S Boston Ave
                                                                Ste 2000
                                                                Tulsa, OK 74103
                                                                918−938−7944
                                                                Email: sbrunette@bgjclaw.com
                                                                TERMINATED: 08/20/2024
                                                                LEAD ATTORNEY

    Defendant
    Mary Johnmeyer                                represented by Jennifer N. Lamirand
    individual capacity, official capacity as                    (See above for address)
    legal counsel of Charles Schwab                              LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                                Mary H (Molly) Tolbert
                                                                (See above for address)
                                                                TERMINATED: 02/03/2025
                                                                LEAD ATTORNEY

                                                                Tara A LaClair
                                                                (See above for address)
                                                                LEAD ATTORNEY
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                                                                   ATTORNEY TO BE NOTICED

    Defendant
    Renee Banks                                     represented by Daniel James Card
    individual capacity, official capacity as                      Gordon Rees
    CSS Director                                                   Legal
                                                                   2200 Ross Avenue
                                                                   Ste 3700
                                                                   Dallas, TX 75201
                                                                   214−813−3441
                                                                   Email: dcard@grsm.com
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

    Defendant
    Jason Hoenshell                                 represented by John K.F. Langford
    individual capacity, official capacity as                      (See above for address)
    Oklahoma FIDM Coordinator                                      LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

    Defendant
    Emmalene Stringer                               represented by John K.F. Langford
    individual capacity, official capacity as                      (See above for address)
    State's attorney for CSS                                       LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

    Defendant
    Does
    sued as Does #1−10, known but
    unidentified CSS employees

    Defendant
    Does
    sued as Does #11−20, known but
    unidentified Charles Schwab and Co.,
    Inc. employees


     Date Filed       #   Docket Text
     05/08/2024       1   CIVIL COVER SHEET by Linh Tran Stephens (dla, Dpty Clk) (Entered: 05/08/2024)
     05/08/2024       2   COMPLAINT with Jury Demand against All Defendants by Linh Tran Stephens (dla,
                          Dpty Clk) (Entered: 05/08/2024)
     05/08/2024       3   MOTION for Leave to Proceed in Forma Pauperis by Linh Tran Stephens (dla, Dpty
                          Clk) (Entered: 05/08/2024)
     05/08/2024       4   DISCLOSURE STATEMENT by Linh Tran Stephens (dla, Dpty Clk) (Entered:
                          05/08/2024)
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     05/08/2024    5   MOTION to Obtain Electronic Case Filing Rights for Non−Attorneys by Linh Tran
                       Stephens (dla, Dpty Clk) (Entered: 05/08/2024)
     05/08/2024    6   MINUTE ORDER by Court Clerk , directing Linh Tran Stephens to file a Disclosure
                       Statement pursuant to FRCvP 7.1 and LCvR 7.1−1, if applicable. The parties shall use
                       the form entitled Disclosure Statement available on the Courts website. (This entry is
                       the Official Order of the Court. No document is attached.) (dla, Dpty Clk) (Entered:
                       05/08/2024)
     05/23/2024    7   ORDER by Judge John D Russell ; directing court clerk to take action; granting 3
                       Motion for Leave to Proceed in Forma Pauperis (Re: 3 MOTION for Leave to Proceed
                       in Forma Pauperis ) (pll, Dpty Clk) (Entered: 05/23/2024)
     05/23/2024    8   ORDER by Judge John D Russell ; directing court clerk to take action; granting 5
                       Motion for Miscellaneous Relief (Re: 5 MOTION to Obtain Electronic Case Filing
                       Rights for Non−Attorneys ) (pll, Dpty Clk) (Entered: 05/23/2024)
     05/23/2024        ***Remark: Seven blank USM−285 forms mailed to Linh Tran Stephens 11063 S
                       Memorial Dr Ste D #235 Tulsa, OK 74133−7366 (Re: 7 Order, Directing Court Clerk
                       to Take Action, Ruling on Motion to Proceed in Forma Pauperis ) (dla, Dpty Clk)
                       (Entered: 05/23/2024)
     06/03/2024    9   SUMMONS Issued by Court Clerk as to Renee Banks, Charles Schwab and Co., Inc.,
                       Child Support Services of Oklahoma Department of Human Services, Cierra Freeman,
                       Jason Hoenshell, Mary Johnmeyer, Emmalene Stringer (sna, Dpty Clk) (Entered:
                       06/04/2024)
     06/06/2024   10   SUMMONS Returned Unexecuted re: Renee Banks, Jason Hoenshell (Re: 2
                       Complaint ) (sna, Dpty Clk) (Entered: 06/06/2024)
     06/12/2024   11   SUMMONS Returned Executed re: Charles Schwab and Co., Inc., Mary Johnmeyer
                       (Re: 2 Complaint ) (drw, Dpty Clk) (Entered: 06/12/2024)
     06/21/2024   12   SUMMONS Returned Unexecuted re: Renee Banks, Jason Hoenshell (Re: 2
                       Complaint ) (dla, Dpty Clk) (Entered: 06/21/2024)
     06/21/2024   13   SUMMONS Returned Executed re: Charles Schwab and Co., Inc., Child Support
                       Services of Oklahoma Department of Human Services, Cierra Freeman, Mary
                       Johnmeyer, Emmalene Stringer (Re: 2 Complaint ) (dla, Dpty Clk) (Entered:
                       06/21/2024)
     07/01/2024   14   ATTORNEY APPEARANCE by Andrew Charles Jayne on behalf of Cierra Freeman
                       [Note: Attorney Andrew Charles Jayne added to party Cierra Freeman (pty:dft).]
                       (Jayne, Andrew) (Entered: 07/01/2024)
     07/01/2024   15   MOTION to Dismiss for Failure to State a Claim by Cierra Freeman (Jayne, Andrew)
                       (Entered: 07/01/2024)
     07/01/2024   16   ATTORNEY APPEARANCE by Shelby Brunette on behalf of Cierra Freeman [Note:
                       Attorney Shelby Brunette added to party Cierra Freeman (pty:dft).] (Brunette, Shelby)
                       (Entered: 07/01/2024)
     07/01/2024   17   ATTORNEY APPEARANCE by Mary H (Molly) Tolbert on behalf of Charles
                       Schwab and Co., Inc., Mary Johnmeyer [Note: Attorney Mary H (Molly) Tolbert
                       added to party Charles Schwab and Co., Inc.(pty:dft), Attorney Mary H (Molly)
                       Tolbert added to party Mary Johnmeyer(pty:dft).] (Tolbert, Mary) (Entered:
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                       07/01/2024)
     07/01/2024   18   ATTORNEY APPEARANCE by Tara A LaClair on behalf of Charles Schwab and
                       Co., Inc., Mary Johnmeyer [Note: Attorney Tara A LaClair added to party Charles
                       Schwab and Co., Inc.(pty:dft), Attorney Tara A LaClair added to party Mary
                       Johnmeyer(pty:dft).] (LaClair, Tara) (Entered: 07/01/2024)
     07/01/2024   19   First DISCLOSURE STATEMENT (identifying: Corporate Parent Charles Schwab &
                       Co., Inc. for Charles Schwab and Co., Inc.) by Charles Schwab and Co., Inc. (LaClair,
                       Tara) (Entered: 07/01/2024)
     07/01/2024   20   MOTION to Dismiss by Charles Schwab and Co., Inc., Mary Johnmeyer (With
                       attachments) (LaClair, Tara) (Entered: 07/01/2024)
     07/03/2024   21   MINUTE ORDER by Court Clerk , directing Charles Schwab and Co., Inc., Cierra
                       Freeman, and Mary Johnmeyer to file a Disclosure Statement pursuant to FRCvP 7.1
                       and LCvR 7.1−1, if applicable. The parties shall use the form entitled Disclosure
                       Statement available on the Courts website. (This entry is the Official Order of the
                       Court. No document is attached.) (lmt, Dpty Clk) (Entered: 07/03/2024)
     07/03/2024   22   DISCLOSURE STATEMENT by Cierra Freeman (Jayne, Andrew) (Entered:
                       07/03/2024)
     07/03/2024   23   ATTORNEY APPEARANCE by John K.F. Langford on behalf of Child Support
                       Services of Oklahoma Department of Human Services, Emmalene Stringer [Note:
                       Attorney John K.F. Langford added to party Child Support Services of Oklahoma
                       Department of Human Services(pty:dft), Attorney John K.F. Langford added to party
                       Emmalene Stringer(pty:dft).] (Langford, John) (Entered: 07/03/2024)
     07/03/2024   24   MOTION to Dismiss by Child Support Services of Oklahoma Department of Human
                       Services (Langford, John) (Entered: 07/03/2024)
     07/03/2024   25   MOTION to Dismiss by Emmalene Stringer (Langford, John) (Entered: 07/03/2024)
     07/03/2024   26   DISCLOSURE STATEMENT by Mary Johnmeyer (LaClair, Tara) (Entered:
                       07/03/2024)
     07/08/2024   27   MINUTE ORDER by Court Clerk , directing Child Support Services of Oklahoma
                       Department of Human Services and Emmalene Stringer to file a Disclosure Statement
                       pursuant to FRCvP 7.1 and LCvR 7.1−1, if applicable. The parties shall use the form
                       entitled Disclosure Statement available on the Courts website. (This entry is the
                       Official Order of the Court. No document is attached.) (drw, Dpty Clk) (Entered:
                       07/08/2024)
     07/29/2024   28   MOTION for Confession of Judgment of Her Motion to Dismiss [DKT.15] (Re: 15
                       MOTION to Dismiss for Failure to State a Claim ) by Cierra Freeman (Jayne,
                       Andrew) (Entered: 07/29/2024)
     08/01/2024   29   MOTION For Extension of Time to Response by Linh Tran Stephens (dla, Dpty Clk)
                       (Entered: 08/01/2024)
     08/01/2024   30   ORDER by Judge John D Russell : Plaintiff Stephens shall respond to the four
                       pending motions to dismiss by Friday, September 6, 2024 ; setting/resetting
                       deadline(s)/hearing(s): ( Responses due by 9/6/2024); granting 29 Motion for
                       Miscellaneous Relief (Re: 15 MOTION to Dismiss for Failure to State a Claim , 25
                       MOTION to Dismiss , 20 MOTION to Dismiss , 24 MOTION to Dismiss , 29
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                       MOTION For Extension of Time to Response ) (clb, Dpty Clk) (Entered: 08/01/2024)
     08/01/2024   31   ORDER by Judge John D Russell ; denying 28 Motion for Miscellaneous Relief (Re:
                       28 MOTION for Confession of Judgment of Her Motion to Dismiss [DKT.15] ) (clb,
                       Dpty Clk) (Entered: 08/01/2024)
     08/03/2024   32   MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) by Linh Tran Stephens
                       (lmt, Dpty Clk) (Entered: 08/05/2024)
     08/05/2024   33   MINUTE ORDER by Judge John D Russell : Per this Court's order at Dkt. 30 ,
                       Plaintiff's initial request for extension of time, Dkt. 29 , was granted. Plaintiff shall
                       respond to the pending motions to dismiss by September 6, 2024 ; finding as moot 32
                       Motion to Accelerate/Extend/Reset Hearing(s)/Deadline(s) (Re: 30 Order,,,
                       Setting/Resetting Deadline(s)/Hearing(s),,, Ruling on Motion for Miscellaneous
                       Relief,, 32 MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) ) (This entry
                       is the Official Order of the Court. No document is attached.) (clb, Dpty Clk) (Entered:
                       08/05/2024)
     08/16/2024   34   ATTORNEY APPEARANCE by Daniel James Card on behalf of Renee Banks [Note:
                       Attorney Daniel James Card added to party Renee Banks(pty:dft).] (Card, Daniel)
                       (Entered: 08/16/2024)
     08/16/2024   35   MOTION to Dismiss for lack of jurisdiction and failure to state a claim by Renee
                       Banks (Card, Daniel) (Entered: 08/16/2024)
     08/16/2024   36   ATTORNEY APPEARANCE by John K.F. Langford on behalf of Jason Hoenshell
                       [Note: Attorney John K.F. Langford added to party Jason Hoenshell(pty:dft).]
                       (Langford, John) (Entered: 08/16/2024)
     08/16/2024   37   MOTION to Dismiss for Failure to State a Claim , MOTION to Dismiss for Lack of
                       Jurisdiction by Jason Hoenshell (Langford, John) (Entered: 08/16/2024)
     08/19/2024   38   MOTION to Withdraw Attorney(s) by Cierra Freeman (Brunette, Shelby) (Entered:
                       08/19/2024)
     08/20/2024   39   MINUTE ORDER by Court Clerk , directing Renee Banks and Jason Hoenshell to file
                       a Disclosure Statement pursuant to FRCvP 7.1 and LCvR 7.1−1, if applicable. The
                       parties shall use the form entitled Disclosure Statement available on the Courts
                       website. (This entry is the Official Order of the Court. No document is attached.) (atn,
                       Dpty Clk) (Entered: 08/20/2024)
     08/20/2024   40   ORDER by Judge John D Russell ; terminating attorney Shelby Brunette ; granting 38
                       Motion to Withdraw Attorney(s) (Re: 38 MOTION to Withdraw Attorney(s) ) (clb,
                       Dpty Clk) (Entered: 08/20/2024)
     09/06/2024   41   RESPONSE in Opposition to Motion (Re: 24 MOTION to Dismiss , 35 MOTION to
                       Dismiss for lack of jurisdiction and failure to state a claim, 15 MOTION to Dismiss
                       for Failure to State a Claim , 37 MOTION to Dismiss for Failure to State a Claim
                       MOTION to Dismiss for Lack of Jurisdiction , 25 MOTION to Dismiss , 20 MOTION
                       to Dismiss ) by Linh Tran Stephens ; (lmt, Dpty Clk) (Entered: 09/06/2024)
     09/18/2024   42   REPLY to Response to Motion (Re: 20 MOTION to Dismiss ) by Charles Schwab and
                       Co., Inc., Mary Johnmeyer ; (Tolbert, Mary) (Entered: 09/18/2024)
     09/20/2024   43   REPLY to Response to Motion (Re: 15 MOTION to Dismiss for Failure to State a
                       Claim ) by Cierra Freeman ; (Jayne, Andrew) (Entered: 09/20/2024)
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     09/24/2024   44   RESPONSE (Re: 43 Reply to Response to Motion, 42 Reply to Response to Motion )
                       by Linh Tran Stephens (dla, Dpty Clk) (Entered: 09/24/2024)
     10/04/2024   45   MOTION to Strike Document(s) (Re: 44 Response ) by Charles Schwab and Co., Inc.,
                       Mary Johnmeyer (With attachments) (Tolbert, Mary) (Entered: 10/04/2024)
     10/04/2024   46   MOTION to Strike Document(s) (Re: 44 Response ) by Cierra Freeman (Jayne,
                       Andrew) (Entered: 10/04/2024)
     11/22/2024   47   OBJECTION (Re: 46 MOTION to Strike Document(s) , 45 MOTION to Strike
                       Document(s) ) by Linh Tran Stephens (atn, Dpty Clk) (Entered: 11/25/2024)
     01/31/2025   48   MOTION to Withdraw Attorney(s) Mary H. Tolbert by Charles Schwab and Co., Inc.,
                       Mary Johnmeyer (Tolbert, Mary) (Entered: 01/31/2025)
     02/03/2025   49   MINUTE ORDER by Judge John D Russell ; terminating attorney Mary H (Molly)
                       Tolbert ; granting 48 Motion to Withdraw Attorney(s) (This entry is the Official Order
                       of the Court. No document is attached.) (clb, Dpty Clk) (Entered: 02/03/2025)
     02/12/2025   50   NOTICE Criminal complaint by Linh Tran Stephens (mm, Dpty Clk) (Entered:
                       02/12/2025)
     03/05/2025   51   ATTORNEY APPEARANCE by Jennifer N. Lamirand on behalf of Charles Schwab
                       and Co., Inc., Mary Johnmeyer [Note: Attorney Jennifer N. Lamirand added to party
                       Charles Schwab and Co., Inc.(pty:dft), Attorney Jennifer N. Lamirand added to party
                       Mary Johnmeyer(pty:dft).] (Lamirand, Jennifer) (Entered: 03/05/2025)
     03/05/2025   52   MOTION to Strike Document(s) Criminal Complaint Filed by Plaintiff Linh Tran
                       Stephens (Re: 50 Notice (Other) ) by Charles Schwab and Co., Inc., Mary Johnmeyer
                       (Lamirand, Jennifer) (Entered: 03/05/2025)
     03/28/2025   53   RESPONSE in Opposition to Motion (Re: 52 MOTION to Strike Document(s)
                       Criminal Complaint Filed by Plaintiff Linh Tran Stephens ) by Linh Tran Stephens ;
                       (cjb, Dpty Clk) (Entered: 03/31/2025)
     04/08/2025   54   MOTION for emergency injunction relief and removal from state court proceedings,
                       permanent restraining order, supplemental claims, termination of state's child support
                       orders, undue hardship exemption, and stop all garnishments, levying, liquidation by
                       Linh Tran Stephens (mm, Dpty Clk) (Entered: 04/09/2025)
     04/14/2025   55   NOTICE of Change of Address by Tara A LaClair by on behalf of Charles Schwab
                       and Co., Inc., Mary Johnmeyer (LaClair, Tara) (Entered: 04/14/2025)
     04/16/2025   56   MOTION to Disqualify opposing counsel by Linh Tran Stephens (mm, Dpty Clk)
                       (Entered: 04/16/2025)
     04/18/2025   57   NOTICE titled: Special Entry of Special Appearance (Tulsa County District Court
                       filing) by Linh Tran Stephens (atn, Dpty Clk) (Entered: 04/18/2025)
     04/21/2025   58   MOTION to dismiss all state actions by Linh Tran Stephens (cjb, Dpty Clk) (Entered:
                       04/22/2025)
     04/21/2025   59   NOTICE of rights and jurisdiction by Linh Tran Stephens (cjb, Dpty Clk) (Entered:
                       04/22/2025)
     04/22/2025   60   MOTION to Stay enforcement of child support orders by Linh Tran Stephens (cjb,
                       Dpty Clk) (Entered: 04/22/2025)
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     04/24/2025   61   OPINION AND ORDER by Judge John D Russell ; dismissing/terminating case
                       (terminates case) ; granting 35 Motion to Dismiss; granting 37 Motion to Dismiss for
                       Failure to State a Claim; granting 37 Motion to Dismiss for Lack of Jurisdiction;
                       denying 45 Motion to Strike Document(s); denying 46 Motion to Strike Document(s);
                       denying 52 Motion to Strike Document(s); finding as moot 54 Motion for
                       Miscellaneous Relief; finding as moot 56 Motion to Disqualify; finding as moot 58
                       Motion for Miscellaneous Relief; finding as moot 60 Motion to Stay; granting 15
                       Motion to Dismiss for Failure to State a Claim; granting 20 Motion to Dismiss;
                       granting 24 Motion to Dismiss; granting 25 Motion to Dismiss (clb, Dpty Clk)
                       (Entered: 04/24/2025)
     04/24/2025   62   JUDGMENT by Judge John D Russell , entering judgment in favor of Defendants
                       against Plaintiff (terminates case) (Re: 61 Opinion and Order,,,,
                       Dismissing/Terminating Case,,,, Ruling on Motion to Dismiss,,,, Ruling on Motion to
                       Dismiss for Failure to State a Claim,,,, Ruling on Motion to Dismiss for Lack of
                       Jurisdiction,,,, Ruling on Motion to Strike Document(s),,,,,,,,,,,, Ruling on Motion for
                       Miscellaneous Relief,,,, Ruling on Motion to Disqualify,,,,,,,, Ruling on Motion to
                       Stay,,,,,,,,,,,,,,,,,,, ) (clb, Dpty Clk) (Entered: 04/24/2025)
     04/24/2025        ***Civil Case Terminated (see document number 62 ) (dla, Dpty Clk) (Entered:
                       04/25/2025)
     04/29/2025   63   NOTICE OF APPEAL to Circuit Court (Re: 61 Opinion and Order,,,,
                       Dismissing/Terminating Case,,,, Ruling on Motion to Dismiss,,,, Ruling on Motion to
                       Dismiss for Failure to State a Claim,,,, Ruling on Motion to Dismiss for Lack of
                       Jurisdiction,,,, Ruling on Motion to Strike Document(s),,,,,,,,,,,, Ruling on Motion for
                       Miscellaneous Relief,,,, Ruling on Motion to Disqualify,,,,,,,, Ruling on Motion to
                       Stay,,,,,,,,,,,,,,,,,,, 62 Judgment,,, Entering Judgment,,,,, ) by Linh Tran Stephens (dla,
                       Dpty Clk) (Entered: 04/29/2025)
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                               Case No. 24-cv-216-JDR-CDL


         LINH TRAN ST EPHENS,

                                                                            Plaintiff,

                                            versus

        CHILD SUPPORT SERVICES OF OKLAHOMA DEPARTMENT OF
        Hu MAN SERVICES; CHARLES SCHWAB AND Co., INC.; CIERRA
        FREEMAN, individually and in her official capacity as court-appointed
        attorney for child-support enforcement; MARY JOHNMEYER, individually
        and in her official capacity as legal counsel of CharlesSchwab and Co.) Inc.;
        RENEE BANKS, individually and in her official capacity asDirector of Child
        SupportServices of OklahomaDepartment ofHumanServices; J As oN
        HOENSHELL, individually and in his official capacity as Oklahoma FDIM
        Coordinator; EMMALENE STRINGER, individually and in her official
        capacity as attorney for ChildSupportServices of OklahomaDepartment of
        HumanServices; JOHN DOES 1- 10, employees of Child Support Services of
        OklahomaDepartment ofHumanServices; JOHN DOES 11-20, employees
        of CharlesSchwab and Co.) Inc.,

                                                                         Defendants .


                                OPINION AND ORDER


               In February 2024, the District Court in and for Tulsa County ordered
        Plaintiff Linh Tran Stephens to pay $61,794.52 in past-due support to her ex­
        husband, the primary custodian of their minor child. Attempting to collect
        the arrearage, Defendant Oklahoma Child Support Services levied Ms. Ste­
        phens' s account with Defendant Charles Schwab and Co., Inc. Ms. Stephens
        sued CSS, Charles Schwab, and their respective employees for violating the
        Fair Debt Collection Practices Act, committing fraud, participating in a
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                                      Case No. 24-cv-216


               (6) All remaining pending motions [Dkts. 54, 56, 58, 60] are denied as
                  moot.


               DATED this 24th day of April 2025.




                                              JOHN D. RUSSELL
                                               United States District Judge




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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF OKLAHOMA

     (1) Linh Tran Stephens, sui juris,          Case No.: 24-CV-216-JDR-CDL_________
     natural living breathing woman with         Judge: John D. Russell________________
     a living soul,      Plaintiff,
                                                 EXPEDITED HEARING
     Vs.                                         REQUESTED
                                                 JURY TRIAL DEMANDED
     (2) CHILD SUPPORT SERVICES
                                                 – CLAIM #1: VERIFIED COMPLAINT
     OF OKLAHOMA DEPARTMENT
                                                 FOR DAMAGES, REQUEST FOR
     OF HUMAN SERVICES (CSS of
                                                 INJUNCTION RELIEF, AND CLAIM
     OKDHS),
                                                 FOR EXEMPTION TO STOP ALL
     and
                                                 GARNISHMENT, LEVYING, AND
     (3) CHARLES SCHWAB AND CO.,
                                                 LIQUIDATION;
     INC.,
                                                 – CLAIM #2: FDCPA (Fair Debt
     (4) Cierra Freeman, in individual           Collection Practices Act, 15 U.S.C. §
     capacity and official capacity as           1692, et seq.) Violation
     court-appointed attorney for                – CLAIM #3: MAIL AND WIRE
     child-support enforcement,                  FRAUD; BANK FRAUD;
     (5) Mary Johnmeyer, in individual           IMPOSTERS IMPERSONATING IRS
     capacity and in official capacity as        AGENT, PRETEND TO BE JUDGES,
     legal counsel of Charles Schwab,            18 U.S.C. § 912)
     (6) Renee Banks, in individual              – CLAIM #4: R.I.C.O. CONSPIRACY,
     capacity and official capacity as CSS       Conspiracy Against Rights (18 U.S.C.
     Director,                                   §241)
     (7) Jason Hoenshell, in individual          – CLAIM #5: Violation of Civil Rights
     capacity and in official capacity as        (42 U.S.C. §1983) and Deprivation of
     Oklahoma FIDM Coordinator,                  Rights Under Color of Law (18
     (8) Emmalene Stringer, in individual        U.S.C. §242) - Fourteenth
     capacity and in official capacity as        Amendment denial of procedural
     State’s attorney for CSS,                   due process rights
     (9) DOES #1-10 known but                    – CLAIM #6: Violation of Civil Rights
     unidentified CSS employees,                 (42 U.S.C. §1983) and Deprivation of
                                                 Rights Under Color of Law (18
     (10) DOES #11-20 known but
                                                 U.S.C. §242) - Fourth Amendment -
     unidentified Charles Schwab and
                                                 Unwarranted Seizure of bank
     Co., Inc., employees
                                                 accounts’ money, of bank info, and
                   Defendants.                   of Plaintiff (False imprisonment,
                                                 Unlawful Arrest 25 CFR § 11.404)
                                                 – CLAIM #7: Fraudulently obtained
                                                 bank accounts information not
                                                 disclosed to anyone; Confidentiality

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                                                 of financial records (12 U.S.C § 3403)
                                                 – CLAIM #8: Deprivation Of Rights
                                                 Under Color Of Law (18 USC §242
                                                 and §1201 and §641) and 22 USC
                                                 §7102(1) - Abuse or threatened abuse
                                                 of law or legal process (Unlawfully
                                                 Converting the Courts and CPS and
                                                 CSS into an instrument of crime),
                                                 and Malicious Prosecution,
                                                 Harassments,
                                                 – CLAIM #9: IIED claim (intentional
                                                 infliction of emotional distress) 18
                                                 U.S.C. § 2340
                                                 – CLAIM #10: Misappropriation of
                                                 State Funds 18 U.S.C. §§ 643, 644,
                                                 648, 649, 650, 651, 652, and 653
                                                 – CLAIM #11: Extortion, Abusive
                                                 Debt-Collection Practices
                                                 – CLAIM #12: Defamation (alleging
                                                 Plaintiff is an abuser and
                                                 irresponsible not supporting her
                                                 first born daughter) 28 U.S.C. §
                                                 4101(1), ETC.




      NOTICE OF APPEAL TO THE UNITED STATES COURT OF APPEALS
                      FOR THE TENTH CIRCUIT



   NOTICE IS HEREBY GIVEN that Linh Tran Stephens, sui juris, a natural living

   woman breathing with a living soul and a Holy Spirit, Plaintiff in the

   above-captioned original action of federal claims (this is NOT a state court orders’

   appeal as opposing parties from Oklahoma often fraudulently alleged, as my

   divorce/custody/child support with my exhusband Adam Sylvester Stephens was

   finalized in 2016 in republic of Oregon state and he is not a party to this federal

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   claim), a "free [nonblack] person" and stateless citizen ("woman" of the "Union"), in

   accordance with the statements made by Honorable Justice Miller in the

   Slaughter-House Cases, 83 US 36 (U.S. Supreme Court - 1873), and Honorable

   Chief Justice Wallace in ELLEN R. VAN VALKENBURG v. ALBERT BROWN, 43

   Cal. 43 (California Supreme Court - 1872), hereby, pursuant to 28 U.S.C. §1291,

   appeals to the United States Court of Appeals for the Tenth Circuit from the final

   judgment and all interlocutory orders entered in this action on April 24, 2025 [see

   Appendix 1], which dismissed all claims with and without prejudice.


   The Opinion and Order issued by the District Court for the Northern District of

   Oklahoma erroneously determined that:


      1. The Oklahoma Department of Human Services Child Support Services and

         its employees are entitled to Eleventh Amendment immunity;

      2. The Younger abstention doctrine precludes this Court from exercising

         jurisdiction;

      3. The complaint fails to state claims upon which relief can be granted under

         Federal Rule of Civil Procedure 12(b)(6).


   This appeal is timely under Federal Rule of Appellate Procedure 4(a)(1)(A).


   I assert a permanent and continuous objection to any special judges or magistrates

   and alternatives or substitutes other than article III constitutional judges.


   I reserve the right to amend this notice of appeal at any time.

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   This superior Court is demanded to provide written statements of fact and

   conclusions of law, rather than any abusive discretion for appeal purposes if justice,

   truth, and the constitution of united states of America is not revered in this court.


   Respectfully submitted on this 29th day of April, 2025,


                 Nemo me impune lacessit pursuant to Psalm 105:15 + Isaiah 54:17
                 PRIVATE; THIS IS NOT A PUBLIC COMMUNICATION
                 Notice to Agent is Notice to Principal, Notice to Principal is Notice to
                 Agent, Notice applies to all successors and assigns; Affidavit is a Form
                 of Evidence; Unrebutted Affidavit Stands as Truth in Commerce;
                 Silence is Tacit Acquiescence/Agreement/Dishonor;
                 This communication is in no way forming a contract nor requesting
                 any contracting; it is simply a notice regarding the matters at hand.
                 This communication is not intended to nor does it create nor confirm
                 any professional-client relationship or any type of relationship
                 between us;
                                                                Private sector autograph;
                                                                WITHOUT RECOURSE


                                   By one–and-only beneficiary:
           All Rights Reserved None Waived, Without Prejudice UCC 1-308 & 1-103,
             Non-Assumpsit, one-and-only Grantor & Authorized Agent & Beneficiary
      for LINH TRAN STEPHENS©® ens legis and all its derivatives thereof including
                                        Cestui Que Trust a.k.a. “Fide Commissary Trust”,
                          sui juris, Ambassador of Messiah Yahusha, Heir of the Creator,
                                                        my heir/offspring is G.L.Stephens,
                A natural living woman breathing with a living soul and the Holy Spirit,
       natural people with hands legs, Alive-on-the-land, Plenary mind body soul/spirit,
                                         unlimited, non-incorporated, non-sole-proprietor,
       stateless “freeman of the Union” per Honorable Mr. Justice MILLER on April
        14th, 1983, in the Slaughter-House cases, 83 US 36 (a SCOTUS case specifically
                                                               mentioned in 8 FAM 102.3),
                       full capacity and competency with postgraduate level of education,
    living on the land of the republic, with God-given rights pursuant to Bills of Rights,
       NOT a “pro se”/“person”/“pauper”/“indigent”/“slave”/“public servant"/"government
                      employee”/“ward of State”/“U.S. citizen”/“minor” in your dictionary;
                                                i reject your 12 legal presumptions, other
           presumptions/assumptions/double-speaking/implied or undisclosed contracts;
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          Article IV Section 2 Citizens of each State shall be entitled to all Privileges &
                                                Immunities of Citizens in several States;
                                         Rural Free Delivery, Non-Domestic 00000,
                                                 1964 Ashley River Rd Ste B Unit 80112,
             Charleston, South Carolina [zip exempt but near 29416] without U.S.D.C.
                                                      Email: LinhStephens7@gmail.com
                                                                        Tel: 843-608-0294
                             CERTIFICATE OF SERVICE
   The undersigned hereby certifies that on the 29th day of April, 2025, a true, correct,
   and exact copy of the above and foregoing instrument was electronically
   transmitted to the Clerk of the Court via ProSeFilingsOKND@oknd.uscourts.gov for
   efiling for the Defendants:
   1. Defendant #1: CHILD SUPPORT SERVICES OF OKLAHOMA DEPARTMENT
   OF HUMAN SERVICES (CSS of OKDHS), P.O. Box 27068, Tulsa OK 74149, or
   Oklahoma Centralized Support Registry, P.O. Box 268849, Oklahoma City, OK
   73126; Tel: 405-522-2273; email: OCSS.contact.TulsaEast@okdhs.org
   2. Defendant #2: CHARLES SCHWAB AND CO., INC., 3000 Schwab Way,
   Westlake, TX 76262; Tel: 1800-435-4000; email: TPLPLevy@schwab.com
   3. Defendant #3: Cierra Freeman, an individual in her personal capacity, and in
   official capacity as court-appointed attorney for child support enforcement, Boeheim
   Freeman Law, 616 S Boston Ave, Suite 307, Tulsa OK 74119; Tel: 918-884-7791;
   email: cfreeman@boeheimfreeman.com
   4. Defendant #4: Mary Johnmeyer, an individual in her personal capacity, and in
   official capacity as legal counsel of Charles Schwab and Co., Inc.; 3000 Schwab Way,
   Westlake, TX 76262; Tel: 800-435-4000; email: TPLPLevy@schwab.com
   5. Defendant #5: Renee Banks, an individual in her personal capacity, and in official
   capacity as CSS Director, PO Box 248822, Oklahoma City, OK 73124; Tel:
   918-295-3500; email: renee.banks@okdhs.org
   6. Defendant #6: Jason Hoenshell, an individual in his personal capacity, and in
   official capacity as Oklahoma FIDM Coordinator, PO Box 248822, Oklahoma City,
   OK 73124; Tel: 405-982-1530; email: jason.hoenshell@okdhs.org
   7. Defendant #7: Emmalene Stringer, an individual in her personal capacity, and in
   official capacity as State's Attorney for CSS, 3666 N Peoria Ave, Tulsa, OK 74106,
   or PO BOX 27068, Tulsa, OK 74149; Tel: 918-295-3500, Fax: 918-430-2364, email:
   emmalene.stringer@okdhs.org and OCSS.contact.Tulsa@okdhs.org
                                                                WITHOUT RECOURSE.




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                                         APPENDIX 1

                     Wintteb $')tates l!ltstrtct QCourt
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                                Case No. 24-cv-216-JDR-CDL


          LINH TRAN ST EPHENS,

                                                                             Plaintiff,

                                             versus

          CHILD SUPPORT SERVICES OF OKLAHOMA DEPARTMENT OF
         Hu MAN SERVICES; CHARLES SCHWAB AND Co., INC.; CIERRA
         FREEMAN, individually and in her official capacity as court-appointed
         attorney for child-support enforcement; MARY JOHNMEYER, individually
         and in her official capacity as legal counsel of CharlesSchwab and Co.) Inc.;
         RENEE BANKS, individually and in her official capacity asDirector of Child
         SupportServices of OklahomaDepartment ofHumanServices; J As oN
         HOENSHELL, individually and in his official capacity as Oklahoma FDIM
         Coordinator; EMMALENE STRINGER, individually and in her official
         capacity as attorney for ChildSupportServices of OklahomaDepartment of
         HumanServices; JOHN DOES 1- 10, employees of Child Support Services of
         OklahomaDepartment ofHumanServices; JOHN DOES 11-20, employees
         of CharlesSchwab and Co.) Inc.,

                                                                          Defendants .


                                 OPINION AND ORDER


                In February 2024, the District Court in and for Tulsa County ordered
         Plaintiff Linh Tran Stephens to pay $61,794.52 in past-due support to her ex­
         husband, the primary custodian of their minor child. Attempting to collect
         the arrearage, Defendant Oklahoma Child Support Services levied Ms. Ste­
         phens' s account with Defendant Charles Schwab and Co., Inc. Ms. Stephens
         sued CSS, Charles Schwab, and their respective employees for violating the
         Fair Debt Collection Practices Act, committing fraud, participating in a
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                 (6) All remaining pending motions [Dkts. 54, 56, 58, 60] are denied as
                    moot.


                 DATED this 24th day of April 2025.




                                                JOHN D. RUSSELL
                                                 United States District Judge




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